Case 9:01-cv-08060-WPD Document 63 Entered on FLSD Docket 12/04/2003 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 01-8060-CIV-DIMITROULEAS
GREGORY J. HALL and
ARCADIA RESOURCES, LTD.,

Plaintiffs, oo
- mm
MARK COHEN, et al., AREAL sr auoy
Defendants.
/

 

DEFAULT FINAL JUDGMENT
THIS CAUSE is before the Court upon Plaintiffs Gregory J. Hall and Arcadia Resources,

Ltd.’s Motion Pursuant to Rule 55(b)(1) for Entry of Default Judgments by the Clerk of Court
Against the Named Defendants [DE 58], filed herein on October 22, 2003. The Court has
carefully considered the motion and accompanying declarations [DE 59 and DE 60], the entire
file of this case including Plaintiffs’ Complaint and exhibits, return of service executed for
Defendants’, the Clerk’s entry of default against Defendants’, and the failure of Defendants to
respond to the instant motion and the Court’s Order to Show Cause issued on November 12,

2003.

 

'The docket entries containing the return of service for each defendant are as follows:
Creai lle de France [DE 38], Jean-Pierre Martinez [DE 38], Mark Cohen [DE 19], Charles H.
Weaver [DE 33], Summerfield International Services, Inc. [DE 33], Creai-Cohen, a Joint
Venture [DE 23], Majestic Rose, Inc. [DE 22], Sentry Overseas (Bahamas), Inc. [DE 21], and
T.M.I. Generating [DE 20].

The docket entries containing the entry of default for each defendant are as follows:
Creai Ile de France [DE 56], Jean-Pierre Martinez [DE 56], Mark Cohen [DE 54], Charles H.
Weaver [DE 34], Summerfield International Services, Inc. [DE 34], Creai-Cohen, a Joint
Venture [DE 34], Majestic Rose, Inc. [DE 34], Sentry Overseas (Bahamas), Inc. [DE 34], and
T.M.I. Generating [DE 34]. y

L
Case 9:01-cv-08060-WPD Document 63 Entered on FLSD Docket 12/04/2003 Page 2 of 3

Accordingly, it is ORDERED AND ADJUDGED as follows:

l. Plaintiffs’ Gregory J. Hall and Arcadia Resources, Ltd.’s Motion Pursuant to Rule
55(b)(1) for Entry of Default Judgments by the Clerk of Court Against the Named
Defendants [DE 58] is hereby GRANTED;

2. Judgment is hereby entered in favor of Plaintiffs, Gregory J. Hall and Arcadia
Resources, Ltd., and against Defendants, Creai Ile de France, Jean-Pierre Martinez,
Mark Cohen, Charles H. Weaver, Summerfield International Services, Inc., Creai-Cohen,
a Joint Venture, Majestic Rose, Inc., Sentry Overseas (Bahamas), Inc., and T.M.I.
Generating, and Plaintiffs shall recover $3,700,000.00 plus interest thereon at the rate

of 1.35% per annum from the date of this Final Judgment, for which let execution

issue;
3. Any other pending motions are hereby denied as moot;
4. The Clerk of the Court shall close this case.

DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

this day of December, 2003.

 

United States District Judge
Case 9:01-cv-08060-WPD Document 63 Entered on FLSD Docket 12/04/2003 Page 3 of 3

Copies forwarded to:
Magistrate Judge Seltzer
Kendall B. Coffey, Esq.
Donald L. Beckner, Esq.

Gregory J. Hall

Arcadia Resources Limited
2 Glenrose Avenue Upper
Tornoto, Ontario

Canada M4T1K

Mark Cohen

Majestic Rose, Inc.

Sentry Overseas (Bahamas) Inc.
T.M.I. Generating/Creai-Cohen
17754 Hollybrook Way

Boca Raton, FL 33487

Charles H. Weaver

Summerfield International Services, Inc.
1624 Brook Run Drive

Raleigh, NC 27614-9734

Jean-Pierre Martinez
Creai Ile de France

5, Place V. Hugo
94270 Kremlin Bicetre
France
